Case 17-32710-thf      Doc 33-1   Filed 05/10/19       Entered 05/10/19 10:46:47   Page 1 of
                                           Exhibit
                                              3 1




Date:          September 28, 2018

To:            Mr. Casey O'Bryan
               Attorney at Law
               O'Bryan Law Office
               1717 Alliant Ave. Ste. 17
               Louisville, Ky. 40299

From:          Leo Wright
               8021 Christian Court, Unit 327
               Louisville, Ky. 40222

Subject:       Distribution of Funds

Casey:
     Attached is an order directing distribution of monies from the sale of my
property at 4104 Mason Woods Lane, Owensboro, Ky. 42303. As noted, the
remaining funds are $15, 943.13, which I understand to be mine.

       I talked today with the Master Commissioners Office of Daviess County,
(270) 684-3595 regarding the distribution of these funds. She is not aware of any
other funds to be disbursed relating to this property.

      The Master Commissioner stated that I contact my attorney and request a
motion be filed on my behalf to have these funds dispersed to me. I am
requesting that you do so. If there is a reason why we cannot, please let me.

         Thank you for your help and I look forward to hearing from you soon.


         ~ly,




                                           Exhibit 1
     I
.)            Case 17-32710-thf          Doc 33-1       Filed 05/10/19           Entered 05/10/19 10:46:47          Page 2 of
                                                                 Exhibit
                                                                    3 1
         .,



                                                 COMMONWEALTH OF KENTUCKY
                                                     DAVIESS CIRCUIT COURT
                                                           DIVISION I
                                                   CIVIL ACTION NO. 18-CI-00010

               INDEPENDENCE BANK                                                                PLAINTIFF

               vs.

               LEO WRIGHT (a/k/a ARVIN LEO WRIGHT), et al                                       DEFENDANTS

                                      ORDER DIRECTING DISTRIBUTION OF MONIES

                        This matter having come before the Court for hearing on Motion of Plaintiff, and the Court

               being otherwise sufficiently advised,

                        IT IS HEREBY ORDERED AND ADJUDGED that the sale proceeds of $149,500.00 shall

               be distributed as follows:

                     Sales price                                                                                   $149,500.00
                       Less:
                         Commissioner's Fees                                                                         $2,517.50
                         Appraisal Fee                                                                                 $200.00
                         Report Fee                                                                                     $50.00
                         Confirmation Fee                                                                               $50.00
                         Final Accounting Fee                                                                           $50.00
                         Deed Fee                                                                                       $50.00
                         Direct Expense                                                                                 $24.50
                         Independence Bank                                                                         $130,614.87
                      Balance (pending further Orders of the Court)                                                 $15,943.13

                        This the ___}_ day of,,_·-'----"Ll,<IC.-J'---- - - - -




               ( 2-7_'1   l f'-/- ~( f{r

               1;,,. h ~ o/&'-'                                                             ENTERED
                                                                                                MAY O 3 2018
                                                                                                 ,/
                                                                                        SU 'A         . - EHNEY, CL.ERK
                                                                                        BY: ,                    _Q,C.
                                                                   Exhibit 1
                      K'

.~ .•. -'   .·    '
                 \,
                           Case 17-32710-thf       Doc 33-1    Filed 05/10/19       Entered 05/10/19 10:46:47   Page 3 of
                                                                        Exhibit
                                                                           3 1



                            SUB~J:FEifir~,>-----~- __ . ,, )
                               (     - __ ,,:----

                                    W~~i1-. ,-,"'- -~-"'------
                                                     /




                            Terra
                            THACKER, HODSKlNK& KNIGHT, LLP
                            209 West Fourth Street )
                            Owensboro, kc:ntuckyA2J03
                            Phone: (270) 926-4500
                            Fax: (270) 926-1975
                            Attorney for Independence Bank

                            Clerks Distribution List:
                            Terra W. Knight
                            THACKER, HODSKINS & KNIGHT, LLP
                            209 West Fourth Street
                            Owensboro, Kentucky 42303

                            Leo Wright (a/k/a Arvin Leo Wright)
                            8021 Christian Court i/:327
                            Louisville, Kentucky 40222

                            Hon. Richard T. Ford
                            Attorney at Law
                            4921 Goetz Drive, Suite 3
                            Owensboro, Kentucky 42301
                            Attorney.for Spring Bank Towne House Residents Association, Inc.
                            Hon. Stephen D. Lynn

                            Hon. Stephen I .ynn
                            P.O. Box 10003
                            Owensboro, Kentucky 42302-9003
                            Attorney.for City of Owensboro

                            Hon.- Claud Porter
                            P.O. Box 58
                            Owensboro, Kentucky 42302
                            Attorney.for Daviess County, Kentucky




                                                                             2




                                                                        Exhibit 1
